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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

 

KYRA CANNING,
Plaintiff,

Vv.

WILLIAM SMITH, et al.,
Defendants.

 

JARROD BLACKWOOD, et al., individually
and on behalf of a class of similarly situated
individuals,

Consolidated Plaintiffs,

Vv.

JOHN/JANE DOES I-X et al.
Consolidated Defendants.

Lead Civil Action No. 3:20-cv-401

 

MARIA LOURDES MAURER,
Plaintiff,

Vv.

CITY OF RICHMOND, et al.,
Defendants.

 

 

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Civil Action No. 3:20-cv-668

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This matter comes before the Court on the motion to sever filed by Virginia State Police

(“VSP”) Superintendent Gary T. Settle. (ECF No. 32, 3:20-cv-668).

On October 26, 2020, the Court held a conference call with counsel in Canning v. Smith,

et al. (3:20-cv-401) and Maurer v. City of Richmond, et al. (3:20-cv-668) during which it

announced its intention to consolidate these cases for discovery, pretrial motions practice, and
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settlement negotiations. Regrettably, the Court failed to include Settle’s counsel on the conference
call. The Court apologizes for this oversight. Nevertheless, at this time, the Court will not sever
Settle from these consolidated cases.

Federal Rule of Civil Procedure 21 gives district courts “broad discretion in ruling on a
requested severance.” Hanna y. Gravett, 262 F. Supp. 2d 643, 647 (E.D. Va. 2003). A court
should deem a party “misjoined when they fail to satisfy either of the preconditions for permissive
joinder of parties set forth in Rule 20(a).” Jd.

Under Rule 20(a)(2), defendants “may be joined in one action” if “(A) any right to relief is
asserted against them jointly, severally, or in the alternative with respect to or arising out of the
same transaction, occurrence, or series of transactions or occurrences; and (B) any question of law
or fact common to all defendants will arise in the action.” The “transaction or occurrence test...
permit[s] all reasonably related claims for relief by or against different parties to be tried in a single
proceeding. Absolute identity of all events is unnecessary.” Saval v. BL Ltd., 710 F.2d 1027, 1031
(4th Cir. 1983) (quoting Mosley v. Gen. Motors Corp., 497 F.2d 1330, 1333 (8th Cir. 1974)).

Here, the claims the plaintiffs in Canning and Maurer assert against the City of Richmond
(the “City”), William Smith, William Blackwell, and unnamed Richmond Police Department
(“RPD”) officers reasonably relate to the claim Maurer asserts against Settle. For instance, Maurer
alleges that on June 21, 2020, RPD officers and VSP troopers used excessive force to quell a
protest at the Robert E. Lee monument on Monument Avenue. Maurer asserts supervisory liability
claims against Smith, Blackwell, and Settle based in part on that incident. To support her
allegation that Smith, Blackwell, and Settle knew they needed to implement corrective training
measures to prevent the use of excessive force on June 21, 2020, Maurer notes that RPD officers

and VSP troopers allegedly used excessive force against protesters at the Lee monument on June
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1, 2020. The plaintiffs in Canning base their excessive force claim on that June 1 incident.
Accordingly, the Court finds that consolidation of Canning and Maurer for discovery, pretrial
motions practice, and settlement satisfies Rule 20(a)(2)(A) because the claim against Settle
“reasonably relate[s]” to the claims against Smith, Blackwell, the City, and the unnamed RPD
officers.

Consolidation also satisfies Rule 20(a)(2)(B) because common legal and factual questions
will arise as to all defendants during the discovery, pretrial motions practice, and settlement. The
Canning and Maurer plaintiffs allege that RPD officers, VSP troopers, or both used excessive
force against them while they exercised their free speech rights. Additionally, they assert
supervisory liability claims against the men tasked with supervising those officers and troopers.
Thus, the consolidated cases involve similar legal issues.

The consolidated cases also involve similar factual issues. Generally, the cases involve
allegations that RPD officers and VSP troopers used excessive force against Black Lives Matter
protesters in May and June 2020. Investigating those claims will require the plaintiffs to depose
many of the same people, watch much of the same body camera footage, and review similar
documentary evidence. At minimum, both cases will require discovery regarding the police
response to the June 1, 2020 protest at the Lee monument. As such, the consolidated cases involve
similar factual issues. Because consolidation satisfies both preconditions set forth in Rule 20(a)(2),
the Court DENIES WITHOUT PREJUDICE Settle’s motion to sever. (ECF No. 32, 3:20-cv-668.)
The Court will, however, consider a motion to sever filed by Settle or another party later in the
litigation.

It is so ORDERED.

Let the Clerk send a copy of this Order to all counsel of record.
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Date: 2, November 2020

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John A. Gibney, Jr.
United States District Judge

 

 

 
